Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Pagei1of121

Law Debenture: Nortel--Committee Call from Thursday, April 29, 2010 at 11

a.m.

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

Michael Smith <michael.smith@lawdeb.com>

Ce:

Robert Bice <robert.bice@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Date:

Thu, 29 Apr 2010 11:57:45 -0400

F04460-E0002-00037797

CONFIDENTIAL 1T00014190
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 2of121

Mohsin N. Khambati

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F04460-E0002-00037797

CONFIDENTIAL 1T00014191
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 3of121

Law Debenture: Nortel Committee Call--Thursday, May 6, 2010 at 11 a.m.

From:

"Khambaiti, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

Michael Smith <michael.smith@lawdeb.com>

Cc:

Robert Bice <robert.bice@iawdeb.com>, "Miller, Lawrence E.” <Imiller@deweyleboeuf.com>
Date:

Thu, 06 May 2010 12:09:01 -0400

Gentlemen, my notes from today:

F04460-E0002-00037805

CONFIDENTIAL 1T00014192
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page4of121

Mohsin N. Khambati

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F04460-E0002-00037805

CONFIDENTIAL 1T00014193
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 5of121

Law Debenture: Nortel; Committee Call, Thursday, November 12, 2009 at
11:00 a.m.

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

Robert Bice <robert.bice@lawdeb.com>, "Miller, Lawrence E." <|miller@deweyleboeuf.com>
Date:

Thu, 12 Nov 2009 12:49:14 -0500

Gentlemen, attached are my callnotes fromtoday's cal:

F04460-E0002-00049413

CONFIDENTIAL 1T00014201
F04460-E0002-00049413

CONFIDENTIAL 1T00014202
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 7 of121

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F04460-E0002-00049413

CONFIDENTIAL 1T00014203
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 8 of 121

RE: Law Debenture: Nortel Committee Call-Thursday, February 25, 2010

at 11 a.m. Eastern

From:

Robert Bice <robert.bice@lawdeb.com>

To:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Date:

Thu, 25 Feb 2010 12:15:47 -0500

Thanks.

From: Khambati, Mohsin N. [mailto:MKhambati@deweyleboeuf.com]

Sent: Thursday, February 25, 2010 12:15 PM

To: Robert Bice; Miller, Lawrence E.

Subject: Law Debenture: Nortel Committee Call--Thursday, February 25, 2010 at 11 a.m. Eastern

Gentlemen, my call notes from today:

F04460-E0002-00051929

CONFIDENTIAL 1T00014204
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 9of121

Mohsin N. Khambati

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marketing or recommending to another party any matter(s)

F04460-E0002-00051929

CONFIDENTIAL 1T00014205
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 10 of 121
addressed herein.

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F04460-E0002-00051929

CONFIDENTIAL 1T00014206
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 11of121

RE: Law Debenture: Nortel/Lyondell—Discussion Points Outline
WWWX —:™:T™: ora 60FOMHcwM__ MW. MAAN

From:

"Miller, Lawrence E." <"/o=firm/ou=first administrative group/cn=recipients/cn=Imiller">
To:

“Khambaii, Mohsin N." <mkhambati@cdeweyleboeuf.com>, robert. bice@lawdeb.com
Cc:

remo.reale@lawdeb.com

Date:

Wed, 24 Jun 2009 09:45:46 -0400

Lawrence E. Miller
Dewey & LeBoeuf LLP
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New York, NY 10019
Direct: +1 212 424 8111
General: +1 212 424 8000
Fax: +1 212 649 0480
www. .GLcom

From: Khambati, Mohsin N.

Sent: Tuesday, June 23, 2009 7:32 PM

To: Miller, Lawrence E.; Robert.Bice@LawDeb.Com

Cc: 'Remo.Reale@LAWDEB.COM'

Subject: FW: Law Debenture: Nortel/Lyondell--Discussion Points Outline

Mohsin N. Khambati

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General Fax: +1 312 794 8100

F04460-E0002-00056104

CONFIDENTIAL 1T00014208
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 12 of 121

Mobile: +1 847 890 2474
mkhambati@dicom
www.dLcom

From: Khambati, Mohsin N.

Sent: Tuesday, June 23, 2009 6:20 PM

To: Robert.Bice@LawDeb.Com; Miller, Lawrence E.; Rosenbloom, Lewis
Cc: 'Remo.Reale@LAWDEB.COM'; Dantas, Maria A.

Subject: Law Debenture: Nortel/Lyondell--Discussion Points Outline

F04460-E0002-00056104

CONFIDENTIAL 1T00014209
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 13 of 121

Regards

Mohsin N. Khambati

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www.dbcom

F04460-E0002-00056104

CONFIDENTIAL 1T00014210
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 14 of 121

RE: Law Debenture: Nortel-Committee Call on Thursday, August 27, 2009

at 11:00 a.m. Eastern Time

From:

“Miller, Lawrence E.” <"/o=firm/ou=first administrative group/cn=recipients/cn=|miller">
To:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

Date:

Thu, 27 Aug 2009 13:02:02 -0400

Thanks

Lawrence E. Miller
Dewey & LeBoeuf LLP
125 West 55th Street
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Fax: +1 212 649 0480
www. GLcom

From: Khambati, Mohsin N.

Sent: Thursday, August 27, 2009 12:52 PM

To: Miller, Lawrence E.

Subject: Law Debenture: Nortel--Committee Call on Thursday, August 27, 2009 at 11:00 a.m. Eastern Time

Larry, alached are my call notes for ihe committee conlerence call held on Thursday, August 27th. W you deem i
heloful, feel free to fonvard on to Bob.

F04460-E0002-00056701

CONFIDENTIAL 1T00014211
Case 09-10138-MFW Doc 17944-4_ Filed 02/22/17 Page 15 of 121

F04460-E0002-00056701

CONFIDENTIAL 1T00014212
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 16 of 121

Mohsin N. Khambati

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F04460-E0002-00056701

CONFIDENTIAL 1T00014213
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page17 of 121

FW: Law Debenture: Nortel Committee Call on Thursday, September 3,
2009 at 11:00 a.m. Eastern

From:

“Miller, Lawrence E.” <"/o=firm/ou=first administrative group/cn=recipients/cn=|miller">
To:

Robert Bice <robert.bice@lawdeb.com>

Date:

Thu, 03 Sep 2009 13:29:52 -0400

Lawrence E. Miller
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General: +1 212 424 8000
Fax: +1 212 649 0480
imiler@di.com
www.dicom

From: Khambati, Mohsin N.

Sent: Thursday, September 03, 2009 1:02 PM

To: Miller, Lawrence E.

Subject: Law Debenture: Nortel Committee Call on Thursday, September 3, 2009 at 11:00 a.m. Eastern

Larry attached ars my notes from foday's Committee: call

F04460-E0002-00056804

CONFIDENTIAL 1T00014214
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 18 of 121

F04460-E0002-00056804

CONFIDENTIAL 1T00014215
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 19 of 121

Mohsin N. Khambati

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F04460-E0002-00056804

CONFIDENTIAL 1T00014216
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 20 of 121
FW: Law Debenture: Nortel Committee Call, Thurdsay, September 10, 2009

MSXEARERRRRRRCE_:™;5’™MANMEAM EAM, EAM, NAMA NAAN WANA nnn wiv W° 7b gs

From:

"Miller, Lawrence E." <"/o=firm/ou=first administrative group/cn=recipients/cn=Imiller">
To:

Roberi Bice <robert.bice@lawdeb.com>

Date:

Thu, 10 Sep 2009 12:49:08 -0400

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General: +1 212 424 8000
Fax: +1 212 649 0480
imiler@diLcom
www.dl.com

From: Khambati, Mohsin N.

Sent: Thursday, September 10, 2009 12:49 PM

To: Miller, Lawrence E.

Cc: ‘Michael Smith’

Subject: Law Debenture: Nortel Committee Call, Thurdsay, September 10, 2009

Larry. altsohed are my notes from ioday's Committes call.

F04460-E0002-00056952

CONFIDENTIAL 1T00014217
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 21 of 121

Mohsin N. Khambati

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F04460-E0002-00056952

CONFIDENTIAL 1T00014218
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 22 of 121

RE: Law Debenture: Nortel-Committee Call, Thursday, September 24,
2009 at 3 p.m. Eastern

From:

“Miller, Lawrence E." <"/o=firm/ou=first administrative group/cn=recipients/cn=Imiller">
To:

“Khambaiti, Mohsin N." <mkhambati@deweyleboeuf.com>

Date:

Fri, 25 Sep 2009 09:18:42 -0400

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Dewey & LeBoeuf LLP
125 West 55th Street
New York, NY 10019
Direct: +1 212 424 8111
General: +1 212 424 8000
Fax: +1 212 649 0480
www.dlLcom

From: Khambati, Mohsin N.

Sent: Thursday, September 24, 2009 4:55 PM

To: Robert Bice; Miller, Lawrence E.

Subject: Law Debenture: Nortel--Committee Call, Thursday, September 24, 2009 at 3 p.m. Eastern

Gentlemen, attached are my call notes from today:

F04460-E0002-00057131

CONFIDENTIAL 1T00014219
F04460-E0002-00057131

CONFIDENTIAL 1T00014220
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 24 of 121

Viohsin N. Khambati
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F04460-E0002-00057131

CONFIDENTIAL 1T00014221
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 25 of 121

FW: Law Debenture: Nortel Committee Call-Thursday, October 15, 2009

RX REX’, ]’HMMAOU’NMMMBABAA Ai ii WWW °E—e—>—° lh, iil

From:

"Miller, Lawrence E." <"/o=firm/ou=first administrative group/cn=recipients/cn=Imiller">
To:

"Dantas, Maria A." <mdantas@deweyleboeuf.com>

Date:

Mon, 09 Nov 2009 15:35:19 -0500

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Fax: +1 212 649 0480
imiler@diLcom
www.dl.com

From: Khambati, Mohsin N.

Sent: Thursday, October 15, 2009 12:15 PM

To: ‘Robert Bice’; Miller, Lawrence E.

Subject: Law Debenture: Nortel Committee Call--Thursday, October 15, 2009

Gentlemen, attached are my call notes from this morning.

F04460-E0002-0005 7640

CONFIDENTIAL 1T00014222
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 26 of 121

F04460-E0002-0005 7640

CONFIDENTIAL 1T00014223
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 27 of 121
Regards

Mohsin N. Khambati

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F04460-E0002-0005 7640

CONFIDENTIAL 1T00014224
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 28 of 121

FW: Law Debenture: Nortel Committee Call-January 7, 2010 at 11 a.m.

Eastern

From:

“Miller, Lawrence E.” <"/o=firm/ou=first administrative group/cn=recipients/cn=|miller">
To:

“"Rosenbioom, Lewis" <lrosenbloom@deweyleboeuf.com>

Date:

Tue, 26 Jan 2010 15:49:21 -0500

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Fax: +1 212 649 0480
imiler@di.com
www.dicom

From: Khambati, Mohsin N.

Sent: Thursday, January 07, 2010 12:03 PM

To: 'Robert Bice’; Michael Smith; Miller, Lawrence E.

Subject: Law Debenture: Nortel Committee Call--January 7, 2010 at 11 a.m. Eastern

Gentlemen, my notes from today:

F04460-E0002-00058354

CONFIDENTIAL 1T00014225
F04460-E0002-00058354

CONFIDENTIAL 1T00014226
Mohsin N. Khambati

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F04460-E0002-00058354

CONFIDENTIAL 1T00014227
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 31 0f121

Law Debenture: Nortel Committee Call; Thursday, May 13, 2010 at 11 a.m.
Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

Robert Bice <robert.bice@iawdeb.com>, "Miller, Lawrence E.” <lmiller@deweyleboeuf.com>
Date:

Thu, 13 May 2010 12:00:52 -0400

Gentlemen, mycallnotes fromtoday;

F04460-E0002-00059551

CONFIDENTIAL 1T00014228
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 32 of 121

Mohsin N. Khambati

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F04460-E0002-00059551

CONFIDENTIAL 1T00014229
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 33 of 121

Law Debenture: Nortel--Committee Call dated May 20, 2010 at 11 a.m.

Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

Robert Bice <robert.bice@iawdeb.com>, "Miller, Lawrence E.” <lmiller@deweyleboeuf.com>
Date:

Thu, 20 May 2010 11:53:36 -0400

Gentlemen, my notes from today:

Mohsin N. Khambati

Dewey & LeBoeuf LLP

Two Prudential Plaza

180 North Stetson Avenue, Suite 3700
Chicago, IL 60601

F04460-E0002-00059558

CONFIDENTIAL 1T00014230
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 34 of 121

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F04460-E0002-00059558

CONFIDENTIAL 1T00014231
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 35 of 121

Law Debenture: Nortel Committee Call--Thursday, May 27, 2010 at 11 a.m.
Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

Robert Bice <robert.bice@iawdeb.com>, "Miller, Lawrence E.” <lmiller@deweyleboeuf.com>
Date:

Thu, 27 May 2010 12:09:45 -0400

Gentlemen, mycallnotes fromtoday;

F04460-E0002-00059567

CONFIDENTIAL 1T00014232
Mohsin N. Khambati

Dewey & LeBoeuf LLP

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F04460-E0002-00059567

CONFIDENTIAL 1T00014233
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 37 of 121

Law Debenture: Nortel Committee Call--Wednesday, June 16, 2010 at 11

a.m.

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

Robert Bice <robert.bice@lawdeb.com>, "Miller, Lawrence E." <|miller@deweyleboeuf.com>
Date:

Wed, 16 Jun 2010 11:54:43 -0400

Gentlemen, mynotes fromtoday; EE

F04460-E0002-00059602

CONFIDENTIAL 1T00014234
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 38 of 121

Mohsin N. Khambati

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F04460-E0002-00059602

CONFIDENTIAL 1T00014235
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 39 of 121

Law Debenture: Nortel Committee Call--Thursday, June 24, 2010 at 11

a.m. Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>

Date:

Thu, 24 Jun 2010 12:07:53 -0400

Gentlemen, my call notes fi ntoday. Please pardon any errors or typos as these notes have not been proofread prior to
sending.

F04460-E0002-00059616

CONFIDENTIAL 1T00014236
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 40 of 121

Mohsin N. Khambati

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F04460-E0002-00059616

CONFIDENTIAL 1T00014237
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 41 of 121

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F04460-E0002-00059616

CONFIDENTIAL 1T00014238
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 42 of 121

Law Debenture: Nortel; Committee Call dated July 1, 2010 at 11 a.m.

Eastern

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E.” <imiller@deweyleboeuf.com>
Date:

Thu, 01 Jul 2010 11:59:24 -0400

Gentlemen, my notes from today's call. Again, pardon the informality and typos. Also, some thoughts in blue below.

F04460-E0002-00059635

1T00014239

CONFIDENTIAL
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 43 of 121

Dewey & LeBoeuf LLP

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F04460-E0002-00059635

CONFIDENTIAL 1T00014240
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 44 of 121

Law Debenture: Nortel Committee Call; Thursday, August 26, 2010 at 5

p.m. Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Date:

Thu, 26 Aug 2010 18:04:39 -0400

Gentlemen, my notes fromtoday's meeting;

F04460-E0002-00059709

CONFIDENTIAL 1T00014241
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 45 of 121

Mohsin N. Khambati

Dewey & LeBoeuf LLP

Two Prudential Plaza

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mkhambatit@di.com

wean. .dicam

F04460-E0002-00059709

CONFIDENTIAL 1T00014242
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 46 of 121

Law Debenture: Nortel--Committee Call, Thursday, September 2, 2010 at
11 a.m. Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Date:

Thu, 02 Sep 2010 11:44:53 -0400

Gentlemen, mynotes fromtoday; EE

F04460-E0002-00059726

CONFIDENTIAL 1T00014243
Mohsin N. Khambati

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mikhambati@dl.com
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F04460-E0002-00059726

CONFIDENTIAL 1T00014244
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 48 of 121

Law Debenture: Nortel--Committee Call, Thursday September 17, 2010 at
10 a.m. Eastern

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E.” <imiller@deweyleboeuf.com>
Date:

Fri, 17 Sep 2010 10:59:10 -0400

Gentlemen, my notes from todays

F04460-E0002-00059743

CONFIDENTIAL 1T00014245
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 49 of 121

Mohsin N. Khambati

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nkhambati@dlcom
www.dl.com

F04460-E0002-00059743

CONFIDENTIAL 1T00014246
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 50 of 121

Law Debenture: Nortel; Committee Call; Thursday, September 23, 2010 at
11 a.m. Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Date:

Thu, 23 Sep 2010 12:29:16 -0400

Gentlemen, my notes fromtoday's cal!

F04460-E0002-00059754

CONFIDENTIAL 1T00014247
Mohsin N. Khambati

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F04460-E0002-00059754

CONFIDENTIAL 1T00014248
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 52 of 121

Law Debenture; Nortel; Committee Call; Thursday, September 30, 2010 at
11 a.m. Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Date:

Thu, 30 Sep 2010 11:45:38 -0400

Gentlemen, mynotes fromtoday; EE

F04460-E0002-00059761

CONFIDENTIAL 1T00014249
Mohsin N. Khambati

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F04460-E0002-00059761

CONFIDENTIAL 1T00014250
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 54 of 121

Law Debenture: Nortel Committee Call; Thursday, October 28, 2010 at 11

a.m. Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Date:

Thu, 28 Oct 2010 11:47:10 -0400

Gentlemen, my notes fromtoday's cal!

F04460-E0002-00059837

CONFIDENTIAL 1T00014251
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 55 of 121

Mohsin N. Khambati

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F04460-E0002-00059837

CONFIDENTIAL 1T00014252
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 56 of 121

Law Debenture: Nortel--Committee Call; dated November 10, 2010 at 11

a.m. Eastern

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E.” <imiller@deweyleboeuf.com>
Date:

Wed, 10 Nov 2010 11:45:30 -0500

Gentlemen, my notes fromtoday's cal!

F04460-E0002-00059870

CONFIDENTIAL 1T00014253
Case _09-101338-MFW_ Doc 17944-4__ Filed 02/22/17 Page 57 of 121

Mohsin N. Khambati

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180 North Stetson Avenue, Suite 3700
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mkhambati@dl com

F04460-E0002-00059870

CONFIDENTIAL 1T00014254
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 58 of 121

Law Debenture: Nortel--Committee Call; Wednesday, December 15, 2010
at 3 p.m. Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Date:

Wed, 15 Dec 2010 16:05:40 -0500

Gentlemen, my notes fromtoday's cal!

F04460-E0002-00059921

CONFIDENTIAL 1T00014255
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 59 of 121

Mohsin N. Khambati

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F04460-E0002-00059921

CONFIDENTIAL 1T00014256
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 60 of 121

Law Debenture: Nortel Committee Call; January 6, 2010 at 11 a.m. Eastern

From:

"Khambaiti, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E.” <Imiller@deweyleboeuf.com>
Date:

Thu, 06 Jan 2011 12:18:47 -0500

Gentlemen, my notes from today:

F04460-E0002-00059940

CONFIDENTIAL 1T00014257
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 61 of 121

F04460-E0002-00059940

CONFIDENTIAL 1T00014258
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 62 of 121

Mohsin N. Khambati

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F04460-E0002-00059940

CONFIDENTIAL 1T00014259
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 63 of 121

Law Debenture: Nortel Committee Call for Wednesday, January 12, 2010
at 11 a.m. Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Date:

Wed, 12 Jan 2011 11:42:42 -0500

Gentlemen, mycallnotes fromtoday;

F04460-E0002-00059946

CONFIDENTIAL 1T00014260
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 64 of 121

Mohsin N. Khambati

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www.di com

F04460-E0002-00059946

CONFIDENTIAL 1T00014261
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 65 of 121

Law Debenture: Nortel Committee Call--Thursday, January 27, 2010 at 11

a.m. Eastern

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E.” <imiller@deweyleboeuf.com>
Date:

Thu, 27 Jan 2011 11:40:41 -0500

Gentlemen, mycallnotes fromtoday;

F04460-E0002-00059968

CONFIDENTIAL 1T00014262
Mohsin N. Khambati

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180 North Stetson Avenue, Suite 3700
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mkhambati@di.com
www.dbLcom

F04460-E0002-00059968

CONFIDENTIAL 1T00014263
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 67 of 121

RE: Law Debenture: Nortel Committee Call—Thursday, February 3, 2010 at
11 a.m. Eastern

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E.” <imiller@deweyleboeuf.com>
Date:

Thu, 03 Feb 2011 12:09:08 -0500

Gentlemen, my notes fromtoday's cal!

F04460-E0002-00059978

CONFIDENTIAL 1T00014264
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 68 of 121

F04460-E0002-00059978

CONFIDENTIAL 1T00014265
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 69 of 121

Mohsin N. Khambati
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F04460-E0002-00059978

CONFIDENTIAL 1T00014266
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 70 of 121

Law Debenture; Nortel Committee Call, Wednesday, February 9, 2011 at
11 a.m. Eastern.

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E.” <imiller@deweyleboeuf.com>
Date:

Wed, 09 Feb 2011 11:45:45 -0500

Gentlemen, my notes fromtoday's cal!

F04460-E0002-00059992

CONFIDENTIAL 1T00014267
Mohsin N. Khambati

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F04460-E0002-00059992

CONFIDENTIAL 1T00014268
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 72 of 121

Law Debenture: Nortel Committee Call; Wednesday March 2, 2011 at 11

a.m. Eastern

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E.” <imiller@deweyleboeuf.com>
Date:

Wed, 02 Mar 2011 12:24:57 -0500

Gentlemen, my notes fromtoday's cal!

F04460-E0002-00060057

CONFIDENTIAL 1T00014269
F04460-E0002-00060057

CONFIDENTIAL 1T00014270
est

Mohsin N. Khambati

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mkhambati@dl.com

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F04460-E0002-00060057

CONFIDENTIAL 1T00014271
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 75 of 121

Law Debenture; Nortel Committee Call; Thursday, March 10, 2011 at 11

a.m. Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Date:

Thu, 10 Mar 2011 12:14:55 -0500

Gentlemen, my notes fromtoday's cal!

F04460-E0002-00060073

CONFIDENTIAL 1T00014272
F04460-E0002-00060073

CONFIDENTIAL 1T00014273
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 77 of 121

Mohsin N. Khambati

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www.dbLcom

F04460-E0002-00060073

CONFIDENTIAL 1T00014274
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Law Debenture; Nortel; Committee Call re Mediation Status
REE s&dWQ MA dA MA_ygAas&§ MA WW RW My iA_A_sAi_A_ T_ BV WW MW iA Aa Mi Wr DW A WWW

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E.” <Imiller@deweyleboeuf.com>
Date:

Mon, 11 Apr 2011 16:27:50 -0400

Mohsin N. Khambati

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F04460-E0002-00060158

CONFIDENTIAL 1T00014275
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 79 of 121

Law Debenture; Nortel; Committee Call to discuss Mediation Proposal on
Tuesday, April 12, 2011 at 4 p.m. Eastern

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E.” <imiller@deweyleboeuf.com>
Date:

Tue, 12 Apr 2017 16:33:52 -0400

Gentlemen, mynotes fromtoday's calle

F04460-E0002-00060161

CONFIDENTIAL 1T00014276
Mohsin N. Khambati

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180 North Stetson Avenue, Suite 3700
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F04460-E0002-00060161

CONFIDENTIAL 1T00014277
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 81 of 121

Law Debenture; Nortel; Committee Call on Thursday, April 21, 2011 at 11

a.m.

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Date:

Thu, 214 Apr 2011 12:31:45 -0400

Gentlemen, my notes fromtoday's cal!

F04460-E0002-00060188

CONFIDENTIAL 1T00014278
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 82 of 121

Mohsin N. Khambati

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F04460-E0002-00060188

CONFIDENTIAL 1T00014279
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 83 of 121

Law Debenture; Nortel; Committee Call; Wednesday, May 27, 2011 at 11

a.m. Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Date:

Wed, 27 Apr 2011 12:04:39 -0400

Gentlemen, my notes fromtoday's cal!

F04460-E0002-00060205

CONFIDENTIAL 1T00014280
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 84 of 121

F04460-E0002-00060205

CONFIDENTIAL 1T00014281
Mohsin N. Khambati

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F04460-E0002-00060205

CONFIDENTIAL 1T00014282
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 86 of 121

Law Debenture; Nortel Status Report; Monday, June 27, 2011

QQ GQ QW, 0 gq; www AA AA AAAAAAAAA AW VW WHELLLLELLLKdLSNN

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>
To:

Remo Reale <remo.reale@lawdeb.com>

Cc:

James Heaney <james.heaney@lawdeb.com>, Anthony Bocchino <anthony.bocchino@lawdeb.com>, "Miller, Lawrence
E." <Imiller@deweyleboeuf.com>

Date:
Mon, 27 Jun 2011 13:22:24 -0400

Remo, per your request, below is a brief status report in the Nortel matter. As indicated previously, the information
contained herein is of a sensitive and confidential nature.

Mohsin N. Khambati

Dewey & LeBoeuf LLP

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www.dbcom

F04460-E0002-00060358

CONFIDENTIAL 1T00014283
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 87 of 121

Law Debenture; Nortel: Committee Call, Thursday, July 7, 2011 at 11 a.m.
Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Ce:

"Baumgaertner, Peter A." <pbaumgaertner@deweyleboeuf.com>

Date:

Thu, 07 Jul 2011 12:20:56 -0400

Gentlemen, my notes from today's call:

F04460-E0002-000603387

CONFIDENTIAL 1T00014284
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 88 of 121

F04460-E0002-000603387

CONFIDENTIAL 1T00014285
Mohsin N. Khambati

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F04460-E0002-000603387

CONFIDENTIAL 1T00014286
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 90 of 121

Law Debenture; Nortel Committee Call; Wednesday, August 3, 2011 at 11

a.m. Eastern

From:
“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>
To:

“Miller, Lawrence E." <Imiller@deweyleboeuf.com>, Anthony Bocchino <anthony.bocchino@lawdeb.com>, James
Heaney <james.heaney@lawdeb.com>

Cc:

“Baumgaertner, Peter A." <pbaumgaertner@deweyleboeuf.com>

Date:
Wed, 03 Aug 2011 11:58:21 -0400

Gentlemen, my notes from today's call:

F04460-E0002-00060419

CONFIDENTIAL 1T00014287
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 91 of 121

F04460-E0002-00060419

CONFIDENTIAL 1T00014288
Mohsin N. Khambati
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F04460-E0002-00060419

CONFIDENTIAL 1T00014289
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 93 of 121

Law Debenture; Nortel Committee Call; Thursday, September 1, 2011 at 11
a.m. Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Ce:

"Baumgaertner, Peter A." <pbaumgaertner@deweyleboeuf.com>

Date:

Thu, 01 Sep 20171 12:08:09 -0400

Gentlemen, my notes from today's call:

F04460-E0002-00060469

CONFIDENTIAL 1T00014290
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 94 of 121

F04460-E0002-00060469

CONFIDENTIAL 1T00014291
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 95 of 121

Mohsin N. Khambati
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F04460-E0002-00060469

CONFIDENTIAL 1T00014292
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 96 of 121

Law Debenture: Nortel Committee Call; Thursday, September 8, 2011 at 11

a.m. Eastern

From:
“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>
To:

Anthony Bocchino <anthony.bocchino@lawdeb.com>, James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence
E." <Imiller@deweyleboeuf.com>

Cc:

“Baumgaertner, Peter A." <pbaumgaertner@deweyleboeuf.com>

Date:
Thu, 08 Sep 2011 11:39:00 -0400

Gentlemen, my notes from today's call:

F04460-E0002-00060478

CONFIDENTIAL 1T00014293
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 97 of 121

Mohsin N. Khambati

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F04460-E0002-00060478

CONFIDENTIAL 1T00014294
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 98 of 121

Law Debenture; Nortel; Committee Call; Wednesday, September 14, 2011
at 11:30 a.m. Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Ce:

"Baumgaertner, Peter A." <pbaumgaertner@deweyleboeuf.com>

Date:

Wed, 14 Sep 2011 13:18:53 -0400

Gentlemen, my notes from today's call:

F04460-E0002-00060487

CONFIDENTIAL 1T00014295
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 99 of 121

F04460-E0002-00060487

CONFIDENTIAL 1T00014296
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 100 of 121

Mohsin N. Khambati

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F04460-E0002-00060487

CONFIDENTIAL 1T00014297
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 101 of 121

Nortel Status Report; Tuesday, September 27, 2011

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From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>
To:

Remo Reale <remo.reale@lawdeb.com>

Cc:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>, "Baumgaeriner,
Peter A.“ <pbaumgaertner@deweyleboeuf.com>

Date:
Tue, 27 Sep 2011 12:26:16 -0400

Remo, per your request, below is a brief status report in the Nortel matter. As indicated previously, the
information contained herein is of a sensitive and confidential nature. Also, we have attempted to minimize the
repetition from prior reports, so please feel free to ask if you need additional information or clarification on any
matter.

Please feel free to contact me if you have any further questions, comments, or concerns.

Best

Mohsin

F04460-E0002-00060504

CONFIDENTIAL 1T00014298
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 102 of 121

Law Debenture: Nortel; Committee Call Wednesday, September 28, 2011
at 11:30 a.m. Eastern

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E.” <imiller@deweyleboeuf.com>
Ce:

"Baumgaeriner, Peter A." <pbaumgaertner@deweyleboeuf.com>

Date:

Wed, 28 Sep 2011 12:44:45 -0400

Gentlemen, my notes from today’s call:

F04460-E0002-00060514

CONFIDENTIAL 1T00014299
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 103 of 121

F04460-E0002-00060514

CONFIDENTIAL 1T00014300
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 104 of 121

Best

Mohsin

F04460-E0002-00060514

CONFIDENTIAL 1T00014301
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 105 of 121

Law Debenture; Nortel; Committee Call; Wednesday, October 5, 2011 at 11

a.m. Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Ce:

"Baumgaertner, Peter A." <pbaumgaertner@deweyleboeuf.com>

Date:

Wed, 05 Oct 2011 11:46:26 -0400

F04460-E0002-00060518

CONFIDENTIAL 1T00014302
F04460-E0002-00060518

CONFIDENTIAL 1T00014303
Best

Mohsin

F04460-E0002-00060518

CONFIDENTIAL 1T00014304
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 108 of 121

Law Debenture; Nortel; Committee Call; Wednesday, October 12, 2011 at 2

p.m. Eastern

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

James Heaney <james.heaney@lawdeb.com>, "Miller, Lawrence E.” <imiller@deweyleboeuf.com>
Cc:

"Baumgaeriner, Peter A." <pbaumgaertner@deweyleboeuf.com>

Date:

Wed, 12 Oct 2011 14:24:33 -0400

Gentlemen, my notes from today’s call:

Best

Mohsin

F04460-E0002-00060522

CONFIDENTIAL 1T00014305
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 109 of 121

Law Debenture; Nortel; Committee Call; Friday, December 16, 2011 at 11
a.m. Eastern

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

james.heaney@lawdeb.com, "Miller, Lawrence E.” <Imiller@deweyleboeuf.com>
Ce:

"Baumgaeriner, Peter A." <pbaumgaertner@deweyleboeuf.com>

Date:

Fri, 16 Dec 2011 12:11:10 -0500

F04460-E0002-00060608

CONFIDENTIAL 1T00014306
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 110 of 121

F04460-E0002-00060608

CONFIDENTIAL 1T00014307
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 111 of 121

Law Debenture; Nortel; Committee Call; Thursday, February 2, 2012 at 11
a.m. Eastern

From:

“Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

“Heaney, James" <james.nheaney@lawdeb.com>, "Miller, Lawrence E." <imiller@deweyleboeuf.com>
Ce:

"Baumgaertner, Peter A." <pbaumgaertner@deweyleboeuf.com>

Date:

Thu, 02 Feb 2012 11:54:38 -0500

Gentlemen, my notes from today’s call:

F04460-E0002-00060648

CONFIDENTIAL 1T00014308
F04460-E0002-00060648

CONFIDENTIAL 1T00014309
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 113 of 121

RE: Law Debenture: Nortel-Committee Call-Tuesday, November 16, 2010

at 3 p.m. Eastern

From:

James Heaney <james.heaney@lawdeb.com>
To:
“Khambaiti, Mohsin N." <mkhambati@deweyleboeuf.com>, "Miller, Lawrence E." <imiller@deweyleboeuf.com>

Date:

Regards

JT

James D. Heaney

Managing Director

Law Debenture Trust Company of New York
400 Madison Avenue

New York, New York 10017

Tel: 646-747-1252

Fax: 212-750-1361

From: Khambati, Mohsin N. [mailto:MKhambati@deweyleboeuf.com]

Sent: Tuesday, November 16, 2010 3:33 PM

To: James Heaney; Miller, Lawrence E.

Subject: Law Debenture: Nortel--Committee Call--Tuesday, November 16, 2010 at 3 p.m. Eastern

Gentlemen, my notes from today's allocation call:

F04460-E0002-00064717

CONFIDENTIAL 1T00014310
Mohsin N. Khambati
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marketing or recommending to another party any matter(s)
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F04460-E0002-00064717

1T00014311
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 115 of 121

F04460-E0002-00064717

CONFIDENTIAL 1T00014312
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 116 of 121

Nortel

SQA yp MMMWwT_ AA AA AAA A K|GG Yq gpd AAAANNA

From:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

To:

“Miller, Lawrence E." <Imiller@deweyleboeuf.com>

Cc:

“Dantas, Maria A." <mdantas@deweyleboeuf.com>

Date:

Fri, 14 Jan 2011 10:21:20 -0500

Attachments:

Law Debenture: Nortel--Periodic Update (83.79 kB); Law Debenture: Nortel; Status Report (36.35 kB)

See gtlached.

Mohsin N. Khambati

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F04460-E0002-00065407

CONFIDENTIAL 1T00014313
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 117 of 121

Law Debenture: Nortel; Status Report
SQSSSASSAAAAAAAAANRAANNiad Ni 20wiXXA Xxx KKK,  "°7Dov"> DM: _"MddAAMAaAa armrmA MAAN aA

From:

"Khambati, Mohsin N." <"/o=firm/ou=first administrative group/cn=recipients/cn=mkhambat'>

To:

Remo Reale <remo.reale@lawdeb.com>

Cc:

Robert Rywkin <robert.rywkin@lawdeb.com>, "Miller, Lawrence E." <Imiller@deweyleboeuf.com>
Date:

Wed, 22 Sep 2010 10:12:52 -0400

Remo, per your request, below is a brief description of where things stand in the Nortel matter, which is a
continuation from summaries previously provided.

Lam happy to delve into additonal details and provide any additional information yuu mey seed with respect
to this matter,

Best

F04460-E0002-00065409

CONFIDENTIAL 1T00014314
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 118 of 121

Michsin N. Khambati

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www.dbLcom

F04460-E0002-00065409

CONFIDENTIAL 1T00014315
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 119 of 121

Fwd: Law Debenture: Nortel-Committee Call, Thursday September 17,
2010 at 10 a.m. Eastern

From:

“Miller, Lawrence E." <Imiller@deweyleboeuf.com>
To:

“Dantas, Maria A." <mdantas@deweyleboeuf.com>
Date:

Fri, 17 Sep 2010 12:00:32 -0400

Lawrence E. Miller
Dewey & LeBoeuf LLP
125 West S5th Street
New York, NY 10019
Direct: 212.424.8111
General: 212.424.8000
Fax: 212.649.0480
loviller(ad) com

Begin forwarded message:

_ From: "Khambati, Mohsin N." <MKhambati@
: Date: September 17, 2010 10:59:10 AM EDT

: To: "James Heaney" <James. Heanev@LAWDEB.COM>, "Miller, Lawrence E." <LMiller@dewevlebocuf.com>
: Subject: Law Debenture: Nortel--Committee Call, Thursday September 17, 2010 at 10 a.m. Eastern

Gentlemen, my notes from today:

F04460-E0002-00069863

CONFIDENTIAL 1T00014319
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 120 of 121

Mohsin N. Khambati

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wa dLcom

F04460-E0002-00069863

CONFIDENTIAL 1T00014320
Case 09-10138-MFW Doc 17944-4 Filed 02/22/17 Page 121 of 121

Re: Nortel Status Report; Tuesday, September 27, 2011

RAR AIAN ODwUWWO"'F Wh goaiiiNnNnNNWWv"»§h»_: Aa oOOOnNnDWbhEC T= tM HTCA_NMAA__AM_ M WWW ADAM WAAAA WW Ww »»o

From:

"Miller, Lawrence E.” <"/o=firm/ou=first administrative group/cn=recipients/cn=Imiller">
To:

"Khambati, Mohsin N." <mkhambati@deweyleboeuf.com>

Date:

Tue, 27 Sep 2011 12:33:49 -0400

Thanks

if possible glease send the other Nartel memo by 4pm.

From: Khambati, Mohsin N.

Sent: Tuesday, September 27, 2011 12:26 PM

To: ‘Remo Reale’ <Remo.Reale@LAWDEB.COM>

Cc: James Heaney <James.deaney@LAWDEB.COM>, Miller, Lawrence E.; Baumgaertner, Peter A.
Subject: Nortel Status Report; Tuesday, September 27, 2011

Remo, per your request, below is a brief status report in the Nortel matter. As indicated previously, the information
contained herein is of a sensitive and confidential nature. Also, we have attempted to minimize the repetition from
prior reports, so please feel free to ask if you need additional information or clarification on any matter.

ease fcel iree to contact me if you have anv further questions, comments, or concerns.
Best

Mohsin

F04460-E0002-00073141

CONFIDENTIAL 1T00014321
